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                              No. 23-60471


        United States Court of Appeals
             for the Fifth Circuit
                       —————————————————————

   NATIONAL ASSOCIATION OF PRIVATE FUND MANAGERS; ALTERNATIVE
     INVESTMENT MANAGEMENT ASSOCIATION, LIMITED; AMERICAN
 INVESTMENT COUNCIL; LOAN SYNDICATIONS AND TRADING ASSOCIATION;
    MANAGED FUNDS ASSOCIATION; and NATIONAL VENTURE CAPITAL
                           ASSOCIATION,

                                          Petitioners,

                                    v.
                SECURITIES AND EXCHANGE COMMISSION,
                                          Respondent.
                       —————————————————————

               On Petition for Review of an Order of the
                 Securities & Exchange Commission

                REPLY BRIEF FOR PETITIONERS


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            CERTIFICATE OF INTERESTED PERSONS
                        No. 23-60471

   NATIONAL ASSOCIATION OF PRIVATE FUND MANAGERS; ALTERNATIVE
     INVESTMENT MANAGEMENT ASSOCIATION, LIMITED; AMERICAN
 INVESTMENT COUNCIL; LOAN SYNDICATIONS AND TRADING ASSOCIATION;
    MANAGED FUNDS ASSOCIATION; and NATIONAL VENTURE CAPITAL
                           ASSOCIATION,

                                             Petitioners,

                                    v.

                 SECURITIES AND EXCHANGE COMMISSION,

                                             Respondent.
                       —————————————————————

     The undersigned counsel of record certifies that the following listed

persons and entities as described in the fourth sentence of Rule 28.2.1

have an interest in the outcome of this case. These representations are

made in order that the judges of this Court may evaluate possible dis-

qualification or recusal.

     Further, pursuant to Federal Rule of Appellate Procedure 26.1, the

undersigned counsel of record certifies that there are no corporations that

are parents of any Petitioner or that own stock in the Petitioners.

A.   Petitioners

     National Association of Private Fund Managers



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     Alternative Investment Management Association, Limited

     American Investment Council

     Loan Syndications and Trading Association

     Managed Funds Association

     National Venture Capital Association

     Others who are not participants in this matter but may be

financially interested in its outcome include members of the National

Association of Private Fund        Managers, Alternative              Investment

Management Association, Limited, American Investment Council, Loan

Syndications and Trading Association, Managed Funds Association, and

National Venture Capital Association.


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C.   Respondent

     Securities and Exchange Commission


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          CERTIFICATE OF INTERESTED PERSONS
                      (continued)

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                           INTRODUCTION

     The Commission’s brief and those of its amici show what the Rule

is really about: strengthening the bargaining position and investment

terms of some of the world’s most powerful financial institutions—all be-

cause the Commission is dissatisfied with the contract-based model Con-

gress established for investing in private funds.

     Not surprisingly, then, the Rule conflicts with the structure, text,

and purpose of the governing statutes. The Commission would have the

Court believe that even though Congress expressly and with precision

refined the Commission’s “oversight of private-fund advisers” in Title IV

of Dodd-Frank, Congress then—five titles and 250 pages away, in a sec-

tion of the Act that does not even mention private funds—obliquely au-

thorized the Commission to adopt sweeping regulations wholly uncon-

nected to everything Congress had said about private funds in the title

addressing them.

     The Commission arrives at that improbable conclusion by dis-

torting the statutory phrases on which it purports to rely and ignoring

the statutory structure. As the Commission acknowledges, Congress de-

cided to regulate private-fund advisers in their capacity as advisers; this


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advisory relationship exists only between the adviser and its client, the

fund itself. Yet the Commission unabashedly presses regulations not of

the adviser-fund relationship but of the relationship between advisers

and investors in the fund. The Commission cites no authority for this

intervention in the internal affairs of private funds, nor confronts Con-

gress’s express decision to exempt private funds from this type of regula-

tion.

        This deeply flawed Rule is the product of a flawed process. The

Commission admits that it had to “change course” from its original pro-

posal, but in its haste, it failed to seek public input on those changes.

And while the Commission continues to claim that the Rule addresses a

litany of supposed industry misconduct, it cannot substantiate that

claim. The few dozen enforcement actions it identifies over a thirty-year

span are trivial in the scheme of things and, in reality, show that the

Commission’s existing authority is sufficient. The Commission, likewise,

cannot wave away its failure to even attempt to project the Rule’s impact

on competition and capital formation. The agency’s repeated assertion

that “to the extent that predicate X obtains, then conclusion Y ‘may’ fol-

low,” is the opposite of genuine predictive judgments. It is giving up.

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        The Rule—singular, as the Commissioners call it, e.g., Statement

of Comm’r Crenshaw (Aug. 23, 2023), bit.ly/3tU4bpf; contra SEC-Br.8—

exceeds the Commission’s statutory authority and is arbitrary and capri-

cious and otherwise unlawful on numerous levels. It must be vacated in

full.

                               ARGUMENT

I.      Standing Is Clear.

        Petitioners’ standing is “self-evident.” Texas v. NRC, 78 F.4th 827,

835 (5th Cir. 2023). The Rule “regulate[s] private-fund advisers.” SEC-

Br.4. As “the administrative record” shows, Texas, 78 F.4th at 835; see

Petrs.-Br.3—and the Commission has admitted—each Petitioner “repre-

sent[s] … [private-]fund adviser[s],” 88 Fed. Reg. 63,206, 63,293/3-

63,294/1 & n.969 (Sept. 14, 2023) (AIMA); see id. at 63,294/1 & n.970

(AIMA, AIC, MFA); id. at 63,252/3 & n.502 (LSTA); AR.412 (NVCA); Re-

ply-App’x-A22 (AIMA, NAPFM); see also AR.397, 400, 407, 449, 486 (list-

ing members). Petitioners have “an obvious interest in challenging [a]

rulemaking that directly—and negatively—impacts [their] members.”

Am. Trucking Ass’ns v. FMCSA, 724 F.3d 243, 247 (D.C. Cir. 2013).




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     The Commission effectively concedes that standing exists, propos-

ing (at 15-16) that the case be “transfer[red]” to the D.C. Circuit because

standing is supposedly not evident only for the Petitioner that resides in

this Circuit, the National Association of Private Fund Managers.

     The Commission is triply wrong. First, this Court has already re-

jected the premise of the Commission’s argument, holding that jurisdic-

tion exists and venue is proper when at least one party has standing and

another resides in the Circuit. R.J. Reynolds Vapor Co. v. FDA, 65 F.4th

182, 188 (5th Cir. 2023). As noted, the Commission has not contested the

standing of the other Petitioners. Second, NAPFM’s standing is self-evi-

dent. An organization need not identify particular members “when ‘all

the members of [an] organization are affected’” because the challenged

rule targets an entire “industry.” Alon Refin. Krotz Springs, Inc. v. EPA,

936 F.3d 628, 665 (D.C. Cir. 2019).             Third, since “standing was

challenged,” Petitioners are submitting evidence to remove any possible

concern about standing. Texas, 78 F.4th at 835; see Reply-App’x-A9-19.




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II.   The Commission Misreads Dodd-Frank and Other Statu-
      tory Law.

      The Commission’s brief is a master class in two ways agencies seek

to seize power Congress never gave them: ignore statutory structure and

context, and read narrow terms as granting boundless authority.

      A.   The Commission Effectively Concedes That Its
           Approach Contravenes the Statutory Framework
           Governing Private Funds.

      The Commission makes two critical concessions that independently

establish that the Rule contravenes the statutory framework governing

private funds. Petrs.-Br.25-29.

      First, the Commission admits (at 4) that Congress “excluded” pri-

vate funds from regulation under the Investment Company Act. Thus,

by congressional design, private funds are exempt from federal regula-

tion of their internal “governance structure.” Chamber of Com. v. SEC,

412 F.3d 133, 139 (D.C. Cir. 2005). Unlike retail-oriented funds, private

funds can freely negotiate fund agreements concerning investor access to

periodic financial reports, cf. 15 U.S.C. § 80a-29(e), investor input on ad-

visory fees chargeable to the fund, cf. id. § 80a-15(a)(1), and terms (in-

cluding redemption terms) available to particular investors, cf., e.g., id.



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§§ 80a-22, 80a-18. The Rule, however, reverses Congress’s decision to ex-

empt private funds from such requirements. See SEC-Br.9-10, 42 (ac-

knowledging the Rule overrides “private-fund governance” terms, includ-

ing on investor access to financial reports, “input” on fees, and access to

terms, such as “redemption terms”).

     The Commission engages in sleight of hand when it insists (at 4)

that “[t]he rules under review do not regulate private funds; they

regulate private-fund advisers.” In truth, through the workaround of

claiming that the obligation is imposed on the adviser, the Rule is legis-

lating requirements comparable to (indeed, more stringent than) those

from which private funds are exempted.

     Second, the Commission concedes (at 16, 21-22) that Congress de-

cided to regulate private-fund advisers in the Advisers Act as “invest-

ment advisers,” and that this advisory relationship exists only between

the adviser and the adviser’s “client”—i.e., “the fund” itself. SEC-Br.5;

see Goldstein v. SEC, 451 F.3d 873, 880 (D.C. Cir. 2006). Again, the Rule

undoes Congress’s choice. Per congressional design, private-fund “advis-

ers do not owe a duty to private fund investors.” 88 Fed. Reg. at 63,217/2

(emphasis added); accord SEC-Br.27. Congress in Dodd-Frank forbade

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the Commission from piercing the advisory relationship and treating “in-

vestor[s] in a private fund” as if they, rather than the fund itself, were

the adviser’s “client.” Pub. L. No. 111-203, § 406, 124 Stat. 1376, 1574

(2010). Yet the Rule imposes de facto duties between advisers and inves-

tors anyway.

      Piercing the advisory relationship, and for the explicit purpose of

adjusting the “governance mechanisms” of private funds, 88 Fed. Reg. at

63,284/3, the Rule imposes obligations that, on their face, flow not be-

tween the adviser and its client (the fund), but between the adviser and

fund investors. E.g., id. at 63,388/1-2 (§ 275.211(h)(1)-2) (“distribute …

to … investors”); id. at 63,389/1 (§ 275.211(h)(2)-1) (“unless the invest-

ment adviser requests each investor … to consent”); id. at 63,389/3

(§ 275.211(h)(2)-3) (“except … [i]f the investment adviser has offered …

to all other existing investors”).

      The Commission argues that its authority “is not limited to adviser-

client relationships” (SEC-Br.26)—but “adviser-client relationship[s]”

are the only relationships the Advisers Act regulates, Goldstein, 451 F.3d

at 880 (quoting Lowe v. SEC, 472 U.S. 181, 210 (1985)). In every provision




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of that Act the Commission cites, Congress regulated the activity of “in-

vestment advisers,” 15 U.S.C. §§ 80b-6(4), 80b-11(h)(1)-(2)—a term that,

in the private-fund context, Congress defined in terms of “direct[]” provi-

sion of advice to clients, id. § 80b-2(a)(11); see Goldstein, 451 F.3d at 879-

80. This “type of direct relationship” exists only between the adviser and

the fund, not between private-fund advisers and investors. Id. at 880.

      The Commission stresses (at 25) that private-fund advisers have

other relationships with fund investors. But as the Commission recog-

nizes (at 25, 27), those relationships arise under state (“not … federal”)

law. The investors are limited partners in the fund, and the relations

between and among the partners and fund are governed by agreements

negotiated within the parameters of state limited-partnership acts. SEC-

Br.25; ILPA-Br.5-7; see Unif. Ltd. P’ship Act § 105(a)(1) (2013) (cited at

SEC-Br.25) (“partnership agreement governs … relations among the

partners as partners and between the partners and the limited partner-

ship”). The Commission has no authority to meddle in the “internal af-

fairs” of state-law partnerships. Bus. Roundtable v. SEC, 905 F.2d 406,

412 (D.C. Cir. 1990) (“except where federal law expressly” says otherwise,

“investors commit their funds” to entities on “the understanding” that

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state law “govern[s]” the entity’s “internal affairs” (quoting Santa Fe In-

dus., Inc. v. Green, 430 U.S. 462, 479 (1977))). In fact, as discussed above,

the Investment Company Act affirmatively prohibits such intermeddling.

     B.    The Commission’s Reading of Section 913 of Dodd-
           Frank and Section 206(4) of the Advisers Act
           Contravenes the Text of Multiple Provisions and Is
           Implausible.

     Ignoring the statutory framework, the Commission focuses myopi-

cally on Section 913 of Dodd-Frank and Section 206(4) of the Advisers

Act. SEC-Br.16-31. Both provisions, however, govern “investment ad-

visers,” 15 U.S.C. §§ 80b-6(4), 80b-11(h)(1)-(2), and as shown, the Rule

regulates outside the advisory relationship. Supra pp.6-9. So the Com-

mission’s arguments are beside the point. They fail regardless.

           1.    The Commission’s Reading of Section 913 Is
                 Untenable.

     The Commission does not dispute that Title IV of Dodd-Frank—the

“Private Fund Investment Advisers Registration Act,” 124 Stat. at

1570—provides the agency new powers regarding private-fund advisers,

including, e.g., the authority to confidentially review the “side letters,”

§ 404, 124 Stat. at 1572, that, in this rulemaking, the Commission effec-

tively bans by requiring they be disclosed and offered to everyone, Petrs.-


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Br.47-48. Yet, tellingly the Commission does not base any part of the

Rule on its Title IV authorities. Instead, it jumps five titles away to a

provision (Section 913) that focuses entirely on retail investment and

does not even mention private funds. Congress did not tuck into that

provision “an elephant that tramples” the regulatory framework Con-

gress designed for private funds. Epic Sys. Corp. v. Lewis, 584 U.S. 497,

515-16 (2018).

     a.    Section 913 has nothing to do with private funds. From stem

to stern, its “undeniable focus” is the “standards of conduct as they apply

to retail investors.”     Dissent of Comm’r Peirce (Aug. 23, 2023),

bit.ly/44WDa0J (“Peirce”); see Reply-App’x-A1-7; see also Petrs.-Br.29-30;

Securities-Law-Scholars-Br.6-8; Chamber-of-Commerce-Br.15-17.                    The

section uses the term “retail customers” “over 30 times” (SEC-Br.19), and

applies equally to “investment advisers” and “brokers” or “dealers,” which

makes sense in the retail context.

     The Commission has but one response: Congress used the word

“investors” in the two sentences of Section 913 the Commission relies

upon. SEC-Br.17. But Congress switched to “investors” in those sen-

tences because they refer to interactions (e.g., “sales practices”) between

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financial professionals and retail investors “before they become custom-

ers,” Peirce, supra (emphasis added); as the Commission has recognized,

switching from “customer” to “investor” indicates an intent to reach “an

earlier stage” of the retail relationship, Form CRS Relationship Sum-

mary, 84 Fed. Reg. 33,492, 33,542/2 (July 12, 2019). Congress did not

switch to investor “in the middle of a provision otherwise devoted” to re-

tail investment, Schreiber v. Burlington N., Inc., 472 U.S. 1, 12 (1985), to

grant the Commission sweeping authority over private funds.

     The heading (“Other Matters”) confirms the point. The Commission

argues (at 21) that “other” indicates an intent to “cover more than retail

customers.” But the subject covered must “have some resemblance to

what preceded.” Thibodeaux v. Grasso Prod. Mgmt. Inc., 370 F.3d 486,

491 n.5 (5th Cir. 2004). And what preceded was a discussion of the in-

teraction between financial professionals and “retail customers.” The

“similar” relationship—the one encompassed by “other,” id.—is the rela-

tionship between financial professionals and “prospective” retail custom-

ers, 84 Fed. Reg. at 33,542/2-3, not between private-fund advisers and,

say, the California State Teachers’ Retirement System, a $300 billion




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pension fund with over 1,200 staff, and one of the amici here, see Annual

Comprehensive Financial Report 7 (2023), bit.ly/3SsxjNL.1

     b.    The Commission fails to justify the Rule under Section 913 for

other reasons, too.

     First, the Commission argues (at 26-27) that the quarterly-report-

ing requirement fits under the Commission’s authority to “facili-

tate … disclosures to investors regarding the terms of their relationships

with … investment advisers.” 15 U.S.C. § 80b-11(h)(1). But the Com-

mission does not argue that this provision grants rulemaking authority.

Chamber-of-Commerce-Br.18-19.          Even apart from the fact that the

Rule’s disclosures pertain to the funds themselves, not to investors’ “re-

lationships with … investment advisers,” 15 U.S.C. § 80b-11(h)(1), the



 1 The Commission and its amici conflate the “indirect[]” beneficiaries in

private funds, e.g., “firefighters” (SEC-Br.5), with the sophisticated
fiduciaries who serve them. Those fiduciaries manage billions of dollars
and include amici the Public School Teachers’ Pension and Retirement
Fund of Chicago ($11.8 billion, Popular Annual Financial Report 2
(2022), bit.ly/48GM5pS) and District of Columbia Retirement Board
($11.4 billion, AR.123:1). To be sure, these investors do not have the
market power to always get their way in negotiations—even monopolists
lack that. But nowhere does the Commission or its amici contend that
private-fund investors lack the wherewithal to discern a good deal, a bad
deal, and a deal they should walk away from because they lack
information to judge it.
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Commission has no serious response to the fact that details about past

performance and fees are not “the terms,” Petrs.-Br.33. The Commission

argues that the word “term” is not limited “to the provisions in a contract”

(SEC-Br.27), but “contractual stipulation” is “term[’s]” definition, Black’s

Law Dictionary (11th ed. 2019).

     Second, the Commission argues that restrictions on side arrange-

ments are justified under the Commission’s authority to regulate “certain

sales practices.” SEC-Br.22. But the terms of an investment are not the

method by which it is sold. Petrs.-Br.34. Indeed, other provisions in

Dodd-Frank distinguish “sales practices” and contract terms, such as

“rates” or “premiums.” § 502(a), 124 Stat. at 1584.

     Third, the Commission claims (at 24) that requirements regarding

side arrangements, adviser-led secondaries, audits, and restricted activ-

ities are justified under the Commission’s authority to “prohibi[t] or re-

stric[t]” “certain … compensation schemes” or “conflicts of interest.” 15

U.S.C. § 80b-11(h)(2). But the Commission reads each of those terms so

expansively that each renders the others superfluous. Compare, e.g.,

SEC-Br.23 (the “restricted activities” are “compensation schemes”), with

id. at 24 (they’re also “conflicts of interest”). The Commission, moreover,

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does not explain how charging a fee is a “compensation scheme”; Con-

gress knows how to regulate fees if it wants to. E.g., 15 U.S.C. § 80b-5(a).

And the purported conflict between advisers and investors is not one the

Advisers Act regulates. Cf. Goldstein, 451 F.3d at 881 (investment ad-

visers “cannot” be made “the servants of two masters in this way”).

      The Commission’s examples (at 25-26) of its supposedly reasonable

reading of these statutory terms illustrate the boundless authority it is

claiming. If an adviser receives money from any part of a business rela-

tionship, this can be regulated as a “sales practice” and “compensation

scheme.” Likewise, if an adviser benefits from a contract—thereby put-

ting an investor “at a disadvantage”—there’s a “conflict of interest” that

authorizes the Commission to intrude. And since parties on opposite

sides of the bargaining table will always have interests that conflict—

and will always, as they do in this bargaining context, win some points

and lose others—the Commission will always have authority, on its view,

to regulate that bargaining relationship and even the terms of the bar-

gain itself.

      It is an absurd reading of Dodd-Frank that in a section dedicated to

protecting retail investors, Congress handed the Commission the keys to

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such wholesale regulation of private-fund investing by sophisticated in-

vestors.

            2.   The Rule Is Not Authorized by Section 206(4).

      The Commission’s interpretation of Section 206(4) of the Advisers

Act is equally unavailing.

      a.    As the Commission acknowledges, in Title IV of Dodd-Frank

Congress expressly “expanded Commission oversight of private-fund ad-

visers.”   SEC-Br.13.   The Commission cannot explain why Congress

would have done that if Section 206(4), enacted decades earlier, already

“allowed the Commission to” adopt sweeping regulations of private-fund

advisers. AMG Cap. Mgmt., LLC v. FTC, 593 U.S. 67, 77 (2021).

      b.    The Commission claims (at 28) compliance with Section

206(4)’s requirement that rules be “reasonably designed.” But “reasona-

ble” design requires a “sensible” fit within the “statutory context,” As-

cendium Educ. Sols., Inc. v. Cardona, 78 F.4th 470, 482 (D.C.

Cir. 2023)—a “close nexus” with the “statutory aims,” United States v.

O’Hagan, 521 U.S. 642, 676 (1997).

      That nexus is absent, first, because the Rule contravenes the stat-

utory design on numerous levels. Supra pp.5-9; Petrs.-Br.25-29.

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     Second, the Rule lacks a “close nexus” to the terms of Section 206(4).

The Commission’s brief illustrates this, repeatedly conflating (at 28) a

lack of “disclosure[]” with “fraud[]” or “decepti[on].” But a failure to dis-

close “‘cannot be deceptive’” without a “‘duty to disclose.’” Chamber-of-

Commerce-Br.23 (quoting Regents of Univ. of Cal. v. Credit Suisse First

Bos., 482 F.3d 372, 386 (5th Cir. 2007)). And while private-fund advis-

ers—as “investment advisers”—“have a duty to disclose,” that duty,

which arises under the Advisers Act, runs only to their “clients,” SEC v.

Washington Inv. Network, 475 F.3d 392, 404 (D.C. Cir. 2007) (emphasis

added), i.e., to “the fund[s]” themselves, “not … [to] the investors in the

fund[s],” Goldstein, 451 F.3d at 880.

     c.    The briefs of the Commission and its amici confirm that the

Rule’s claim to be an anti-fraud measure is “pretext[ual].” Dep’t of Com.

v. New York, 139 S. Ct. 2551, 2574 (2019).

     The Commission fails to explain how the Rule would prevent fraud

(which the Commission never “define[s],” 15 U.S.C. § 80b-6(4)). Petrs.-

Br.36; SIFMA-Br.21. The Commission observes that the Adopting Re-

lease “described the problems that justified” the Rule and “cited past en-




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forcement actions.” SEC-Br.28-29. But that in no way articulates a “ra-

tional connection between” fraud and any particular requirement the

Commission “cho[se]” to adopt. Motor Vehicle Mfrs. Ass’n, Inc. v. State

Farm Mut. Auto. Ins. Co., 463 U.S. 29, 43 (1983). How, for instance,

would requiring private-fund advisers to prepare periodic reports con-

cerning their fees and performance “prevent,” 88 Fed. Reg. at 63,223/1,

false statements in periodic reports concerning their fees and perfor-

mance, see Sabra Cap. Partners, LLC, Advisers Act Release No. 5594

(SEC Sept. 25, 2020), bit.ly/4929z8G (cited at 88 Fed. Reg. at 63,223/1

n.177)?   Does the Commission expect bad actors to “announce their

fraud”? SIFMA-Br.21. The Commission does not say.

     Its lawyers’ speculation cannot cure that deficiency now. SEC v.

Chenery Corp., 318 U.S. 80, 95 (1943). The Commission had a duty to

address every “important aspect of the problem,” State Farm, 463 U.S. at

43, including how the Rule would prevent fraud. It never did.

     The truth is the Rule is not about fraud prevention. The Commis-

sion’s amici cite other supposed benefits. E.g., ILPA-Br.24 (“[s]tripping

out [the] inefficiency” of “haggling over terms”); Americans-for-Financial-

Reform-Educ.-Fund-Br.16 (remedying “competitive imbalance”).                    And

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when assessing the Rule’s economic effects, the Commission itself pre-

dicted no fraud-prevention benefits at all. Petrs.-Br.36. It implicitly con-

cedes as much with respect to the requirements regarding side arrange-

ments and other restricted activities. See SEC-Br.31 n.3.

     While the Commission tries to locate fraud-prevention findings

with respect to other aspects of the Rule, that effort fails. SEC-Br.31 n.3.

“[C]ompl[iance] with the fund’s governing agreements” is not fraud. Id.

Nor is disagreement over “discretion[ary]” valuations. 88 Fed. Reg. at

63,356/2.      The Commission says there is “‘broadly a higher risk

of … fraud’” (SEC-Br.31 n.3), but it draws no connection between the Rule

and that risk. There are, in fact, other methods of preventing fraud, but,

tellingly, the Commission rejected them because, “[i]mportantly,” for ex-

ample, the audit requirement mandates distributing financial state-

ments that “provid[e] investors with additional information” for “better

understand[ing] the private fund’s operations and financial position.” 88

Fed. Reg. at 63,251/2 (emphases added). This is not about combatting

fraud.

     d.       Citing O’Hagan, the Commission claims that a prophylactic

rule can apply to “acts that are ‘not themselves fraudulent.’” SEC-Br.28.

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But in O’Hagan, the Commission showed the challenged rule was “rea-

sonably designed” because, although some covered conduct could theoret-

ically be lawful, most was unlawful. 521 U.S. at 676. Further, “viewed

in the context of th[at] case,” prophylaxis was necessary because it was

“almost impossible” to apply the Commission’s existing enforcement au-

thority. Id. at 647, 675.

     Here, the opposite is true. Petrs.-Br.36-37. The Commission can

(and does) apply its existing enforcement authority. Peirce, supra; Petrs.-

Br.36. And although some covered activity could theoretically involve

fraud—the Commission claims to “ha[ve] observed” misconduct (SEC-

Br.1) by about 0.05% of advisers (AR.119:13)—the Rule applies to “all

private fund advisers,” 88 Fed. Reg. at 63,218/3 (emphasis added). A rule

that disrupts the business of 1,999 law-abiding advisers to target one

wrongdoer is not reasonably designed.

     C.    The Commission’s Takeover of the Private-Funds
           Industry Presents a Major Question.

     Although the Rule is itself a significant regulation with sweeping

impacts on the private-funds industry, the Commission misses the larger

point: a major question is measured by the import of the agency’s claimed



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authority. Petrs.-Br.37. Here, that claimed authority is enormous. Pri-

vate-fund assets total $26 trillion. Id. And the Commission claims that

it can regulate the “terms” (including the price) of all those investments

(SEC-Br.22-23), along with any acts that “affect the valuation of assets”

or cause “advisers [to] generate revenue” (SEC-Br.23). That asserted au-

thority, as well as the Rule itself, presents a major question.

III. The Commission Essentially Admits It Deprived Petition-
     ers of a Meaningful Opportunity to Comment.

      The Commission is in a hurry, seeking to finalize an enormous

number of controversial rules in an ever-shorter period of time. Petrs.-

Br.12-13. This has resulted in impossibly short comment periods, staff

dragooned to assist with immensely consequential rules, id., and—as

here—an effort by the Commission to repair flawed proposed rules on the

fly, without additional public comment, see Dissent of Comm’r Uyeda

(July 26, 2023), bit.ly/3U5G95e (objecting to the “pattern” of releasing

proposals with “outlandish components,” only to “pivot[] to a different ap-

proach” without public input).

      A.    The Commission acknowledges that, here, it “proposed” one

set of regulations (“prohibiting” certain adviser activities “entirely”), “but

then changed course in response to comments, and adopted” a different
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set (“a disclosure/consent system”). SEC-Br.34, 41.2 The Commission

views this “significant modification[]” as a defense of its action (SEC-

Br.8); it is a confession. When “comments indicate[]” that a proposed re-

quirement is “so unworkable” that it “need[s] to be replaced” with a dif-

ferent requirement, “the proper process [is] to start the notice-and-com-

ment process again.” Mock v. Garland, 75 F.4th 563, 584, 586 (5th

Cir. 2023).

     The Commission skipped that step. Its only excuse is that buried

in the Proposing Release’s “over 900 questions” (AR.145 (Cover Letter at

2)) it asked whether, “[i]nstead of prohibiting these activities,” the Com-

mission should set “certain governance and other conditions” (87 Fed.

Reg. 16,886 16,921/1 (Mar. 24, 2022); see SEC-Br.34). That is not the fair

notice the APA demands. The Commission failed to “describe” the dis-

close-and-consent regime with “reasonable specificity.” Mock, 75 F.4th

at 584. It made no mention of the “agency’s rationale for” adopting such

a regime. Tex. Ass’n of Mfrs. v. CPSC, 989 F.3d 368, 382-83 (5th Cir.




 2 Shareholder-consent  requirements are the type of Investment
Company Act governance constraint from which private funds are
exempted. See 15 U.S.C. § 80a-13 (requiring shareholder consent).
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2021). And it failed to incorporate that regime into the proposal’s eco-

nomic analysis, leaving a critical assumption—that advisers could actu-

ally use the disclose-and-consent regime—untested by public comment.

It would make a mockery of the APA if rulemaking participants had to

prepare comments that addressed not only what the agency proposed,

but every conceivable alternative presented by every stray question

dropped into a voluminous Federal Register filing. Commenters need not

“play hunt the peanut.” Conn. Light & Power Co. v. NRC, 673 F.2d 525,

530 (D.C. Cir. 1982).

      The Commission points to a handful of comments (out of “more than

350,” SEC-Br.8), but comments are “of little significance” when it comes

to fair notice. Tex. Ass’n of Mfrs., 989 F.3d at 383 n.121 (quoting Fertilizer

Inst. v. EPA, 935 F.2d 1303, 1312 (D.C. Cir. 1991)). The agency “‘must

itself provide notice of a regulatory proposal,’” and “‘[h]aving failed to do

so, it cannot bootstrap notice from … comment[s].’” Fertilizer Inst., 935

F.2d at 1312. That is why Chemical Manufacturers Ass’n v. EPA men-

tioned “industry comments” only after it had concluded that the agency

itself provided the requisite notice. 870 F.2d 177, 203 (5th Cir. 1989);




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accord Mock, 75 F.4th at 584 (agency “does not have carte blanche to es-

tablish a rule contrary to its original proposal simply because it receives

suggestions to alter it during the comment period”). Regardless, none of

the cited comments proposed an unworkable rule requiring consent for

each specific investigation-related fee.

     B.    The Commission admits that it significantly “changed course”

(SEC-Br.41) by requiring illiquid funds to disclose both unlevered and

levered returns (Petrs.-Br.41-42).

     The Commission, again, argues there was fair notice of this change

because the Commission “asked” a single question about it, and because

comments discussed levered returns. SEC.Br.35. But, again, a single

question, or another comment, does not suffice, see supra pp.21-23, par-

ticularly where the cited Petitioner comment did not suggest requiring

disclosure of both unlevered and levered returns; it said only that levered

returns provide accurate information. AR.145:App’x 1, ¶¶ 114-17.




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IV.   The Commission Fails to Show That the Rule Is the Prod-
      uct of Reasoned Decisionmaking or Otherwise Lawful.

      A.   The Commission Cannot Explain Why It Undertook
           This Rulemaking.

      To justify the Rule, the Commission relied on assertions that it

“ha[d] observed” “problematic practices” in the private-funds industry.

88 Fed. Reg. at 63,209/1, 63,220/2, 63,223/1, 63,224/1, 63,227/1, 63,229/2,

63,252/1, 63,267/3 n.666, 63,268/1, 63,279/2, 63,281/1 n.826, 63,284/2,

63,289/3 & n.926, 63,300/1, 63,307/2, 63,308/3, 63,309/1-63,310/1,

63,322/1, 63,342/3. The Commission’s brief doubles down on that claim.

SEC-Br.1, 36-37. But the Commission still has not substantiated the al-

leged “record of abuse,” Nat’l Fuel Gas Supply Corp. v. FERC, 468 F.3d

831, 839 (D.C. Cir. 2006) (Kavanaugh, J.), an especially difficult showing

in a market that investors are flocking to and where investor returns are

rising, Comm.-on-Capital-Mkts.-Regulation-Br.14.

      The Commission cites dozens of Federal-Register pages. But it no-

where explains how “this large record” (SEC-Br.37)—consisting mainly

of general background information (at 36 & nn.4, 9), “academic” musings

(at 36 & n.8), and investors’ wish-list comments (at 36 n.7)—substanti-




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ates its assertion that “the Commission has observed problematic prac-

tices by private-fund advisers” (at 1 (emphasis added)), the ground on

which the Commission relied, and on which the Rule must be reviewed,

Nat’l Fuel, 468 F.3d at 839-40 (citing Chenery, 318 U.S. at 95).

     The Commission cites “enforcement actions” emerging from “exam-

inations,” and asserts (at 36-37) that “‘a few dozen’” of these actions “is

significant evidence” of a real problem. But the Commission never ad-

dresses the point that—in the words of a former Commissioner, now

Stanford Law School professor—case counts are “meaningless” without

context. AR.119:12. Even assuming all SEC enforcement actions are

meritorious, the examples cited in the Proposing Release represent less

than 5.33 millionths of the industry’s assets under management, and con-

sume 17 one-hundredths of one percent of the Commission’s enforcement

docket. Id. at 14. The Commission does not explain how this evidences

a real problem, as opposed to industry’s compliance and the Commis-

sion’s ability to deter bad actors under existing authority. Petrs.-Br.43.

Indeed, the Commission concedes, “investigations of advisers … are un-

common.” 88 Fed. Reg. at 63,272/1.




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     The enforcement actions are not evidence of anything anyway. The

actions were “settled,” without admissions of liability. SEC-Br.37. De-

fendants often settle non-meritorious cases to avoid “betting the farm” in

the Commission’s (unconstitutional) administrative proceedings. Tilton

v. SEC, 824 F.3d 276, 298 n.5 (2d Cir. 2016) (Droney, J., dissenting); see

Axon Enter., Inc. v. FTC, 598 U.S. 175, 216 & n.4 (2023) (Gorsuch, J.,

concurring in the judgment) (discussing this “regulatory extortion”).

Compare State Street Bank & Tr. Co., 2010 WL 421154, at *10 (SEC Feb.

4, 2010) (announcing settlement for “misleading” communications), with

the First Circuit’s ruling that the exact communications were “not mis-

leading,” Flannery v. SEC, 810 F.3d 1, 12 (1st Cir. 2015).

     The Commission nonetheless touts (at 37) the settlements as Com-

mission “findings,” but even the settlements say their “find[ings]” are

“[s]olely for the purpose of” settlement, Cherokee Inv. Partners, Advisers

Act Release No. 4258, at 1, 2 n.1 (SEC Nov. 5, 2015), bit.ly/3MjTgLg (cited

at SEC-Br.37). Disregarding this limitation, the Commission declares

that “no precedent holds that an agency errs by considering settled ac-

tions.” SEC-Br.37. But under Commission precedent, when a settlement

order states it is “solely for the purpose of the respective proceeding,” that

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settlement “should not … be[] considered” for a different purpose. How-

ard Perles, 2002 WL 507029, at *10 & n.40 (SEC Apr. 4, 2002); accord

Asensio & Co., 2012 WL 6642666, at *5 n.25 (SEC Dec. 20, 2012) (“settle-

ment may not be considered”).

     Shifting ground, the Commission speculates that the Rule could be

justified by the “potential for abuse.” Nat’l Fuel, 468 F.3d at 841. But

Commission action must be justified on the grounds the Commission

cited—not the grounds it might have given. Chenery, 318 U.S. at 95. The

Commission “did not seek to justify the [Rule] based solely on [a] theoret-

ical danger,” Nat’l Fuel, 468 F.3d at 839. It “claimed [a] record of abuse.”

Id. Without evidence of that record, the Rule “cannot [be] up[held].” Id.

at 839-40.

     B.      The Commission’s Defense of Three Key Provisions
             Does Not Withstand Scrutiny.

     1. Side Arrangements. The Commission acknowledges (at 39)

that it would not have been appropriate to prohibit side arrangements,

where investors in a fund negotiate different rights than other investors.

But the Commission did so anyway. It has no response to the fact that

“[c]onditioning preferential rights on offering them to everyone” amounts

to “a ban on offering preferential rights.” Peirce, supra.
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     Further, though the Commission acknowledges (at 40) “timing” con-

cerns raised by commenters, it did not meaningfully address those con-

cerns in the Rule. Commenters explained that because side arrange-

ments are negotiated until the moment of closing, it would be infeasible

to alert each investor to arrangements negotiated by every other investor.

Petrs.-Br.48-49. The Commission says (at 40) it “balanced that concern

against” investors’ need for the information. But it is not reasoned deci-

sionmaking to acknowledge that something cannot be done, but to order

it anyway because the (unachievable) result would be beneficial.

     2. Pass-Through Expenses. The Commission, again, acknowl-

edges (at 39) that its proposed prohibition on passing through certain ex-

penses was unwarranted. But, again, it imposed a de facto prohibition

anyway. On investigatory expenses, for example, the Commission con-

cedes (at 41) that investors will “have questions” and “request more in-

formation” about each investigatory expense the adviser seeks reim-

bursement for. But as Petitioners explained (at 52-53), advisers will not

subject themselves to that, nor run the risk that consent for reimburse-

ment will be denied. Instead, advisers will stop passing through investi-

gatory expenses and will raise management fees (Petrs.-Br.52-53), the

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exact result the Commission admitted would harm investors, 88 Fed.

Reg. at 63,271/3.

     Moreover, the premise of the Commission’s prohibition is nonsensi-

cal. No one who anticipates being investigated and facing potentially

crippling fines (and irreparable reputational damage) has an “incen-

tive[]” to “engage in misconduct” because “investors will foot the [legal]

bill.” SEC-Br.42.

     3.   Quarterly Statements. The Commission does not dispute

(at 43) that private-fund investors already receive tailored disclosures re-

garding their funds. But in denying that its one-size-fits-all reporting

requirement will crowd out and displace the existing tailored disclosures,

the Commission contradicts a premise of the Rule. The Commission says

(at 43) that, even with the new reporting requirement, private-fund in-

vestors will still be able to negotiate the bespoke reporting arrangements

they value. But, if that is true, the Commission cannot explain why its

quarterly-reporting mandate is needed in the first place.

     C.    The Interpretive Rules Are Baseless.

     In response to the backlash against two of its proposed prohibitions,

the Commission sought to ban the targeted activities under the guise of


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“[i]nterpretive rules” slipped into the Adopting Release. SEC-Br.51. The

Commission’s brief confirms that each rule is based on a false premise.

Both should be vacated. Petrs.-Br.58-66.

     1.    It is a hallmark of the Rule’s overreach that the Commission

seeks to restrict private-fund advisers from obtaining limitations on lia-

bility for negligence, even though those limitations are permitted—under

Section 17 of the Investment Company Act, 15 U.S.C. § 80a-17(i)—for ad-

visers to mutual funds and other, more highly regulated retail-oriented

investment vehicles. The Commission cannot explain how a “congres-

sionally permitted practice for mutual-fund advisers” can “become fraud-

ulent when followed by private-fund advisers.” Petrs.-Br.62.

     The Commission’s brief grudgingly acknowledges (at 52-53) that

Section 17 “can be read” (as in, is read (see AR.145:35-36 & n.181)) “to

allow advisers to limit liability for negligence in contracts” with mutual

funds serving retail customers. But, it cryptically argues (at 53), Sec-

tion 17 “does not allow what the Advisers Act prohibits.” That circular,

citation-free assertion is merely the SEC’s litigators talking—it is not




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what the Commission said in adopting the Rule. As with other “im-

portant aspect[s] of the problem,” State Farm, 463 U.S. at 43, the Com-

mission ignored it.

     More fundamentally, the Commission errs in claiming that indem-

nification by the fund for certain negligent conduct is “the same thing” as

an impermissible waiver of an adviser’s fiduciary duty. SEC-Br.53. In

truth, as the Commission acknowledged in 2019, private-fund advisers

“may” (like everyone else) “shape[]” their fiduciary duty “by agreement.”

Commission Interpretation Regarding Standard of Conduct for Invest-

ment Advisers, 84 Fed. Reg. 33,669, 33,672/2 n.31 (July 12, 2019); accord

id. at 33,671/3. The freedom to “modif[y]” or “[]define[]” the fiduciary re-

lationship, Chipser v. Kohlmeyer & Co., 600 F.2d 1061, 1066-67 (5th Cir.

1979), including through a limitation on liability, predates the Advisers

Act, e.g., Everett v. Phillips, 43 N.E.2d 18, 22 (N.Y. 1942); Anderson v.

Bean, 172 N.E. 647, 653-54 (Mass. 1930), and is widely recognized today,

e.g., DiRienzo v. Lichtenstein, 2013 WL 5503034, at *15 (Del. Ch. Sept.

30, 2013).

     2.      In defending its prohibition on fees for so-called “unperformed

services,” the Commission posits that advisers “charge money and [do]

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not … provide anything in return.” SEC-Br.54. That continues to be “a

mischaracterization.” AR.176:5. As commenters explained without con-

tradiction, some advisers charge fees for monitoring the fund’s invest-

ments. AR.145:App’x 1, ¶¶ 58-59. The fee is negotiated in advance, and

is usually paid “over time,” id. ¶ 61, with a caveat: if the fund exits an

investment early, payment for the entire fee is accelerated, id. ¶ 62;

Petrs.-Br.15-16, 64. “It is difficult to understand why [the Commission]

believe[s]” it is “deceptive” (SEC-Br.54) for investors to “enter[] into [fee]

arrangements” in arm’s length transactions (88 Fed. Reg. at 63,307/2),

and the Commission offers no explanation, other than ipse dixit.

V.    The Commission Cannot Save Its Flawed Economic Analy-
      sis.

      The Commission protests that it should not be required to project a

rule’s economic effects “with complete certainty.” SEC-Br.44, 47. This

dodges the point. The Commission’s failure is not a lack of certainty, but

its repeated, purposeful refusal to settle on a projection of the Rule’s ul-

timate effects on competition and capital formation.

      The Commission does not dispute that it relied almost exclusively

on dozens of “conditional assertions that, ‘to the extent’ that predicate X



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obtains, then conclusion Y ‘may’ follow.” Petrs.-Br.69. “The Administra-

tive Procedure Act does not tolerate that kind of truism as the basis for”

Commission action, Nat’l Fuel, 468 F.3d at 844, and none of the Commis-

sion’s cases is to the contrary.    Chamber of Commerce, for example,

faulted the Commission for failing to “make tough choices” “in face of un-

certainty.” 412 F.3d at 143. The Commission’s “to-the-extent” state-

ments avoid making any choices.

     The Commission complains that Petitioners “do not identify any

‘competing estimates’ that the Commission failed to assess.” SEC-Br.50.

But the Release itself identified numerous possibilities that the Commis-

sion was obligated to (but did not) choose between. To take just one ex-

ample, “[t]o the extent compliance costs or other effects of the rules cause

certain smaller advisers to exit, the rules may result in reduced diversity

of investment advisers”—but then again, “[t]o the extent that smaller or

newer advisers benefit from [alleged] pro-competitive effects, because

smaller or newer advisers are disproportionately women-owned and mi-

nority-owned, these benefits will therefore disproportionately accrue to

women- and minority-owned advisers.” 88 Fed. Reg. at 63,361/3, 63,362/2

n.1747. Which is it? See also id. at 63,362/3, 63,364/1 (observing that the

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Rule “may reduce U.S. capital formation, to the extent it is more difficult

for certain domestic investors … to deploy capital,” but also that the Rule

“may lead to enhanced capital formation” “[t]o the extent” that it “re-

duce[s] the cost of intermediation between investors and portfolio invest-

ments”); id. at 63,359/1-2 (the Rule may “improve” efficiency, “[t]o the

extent that investors currently bear costs of searching for fund advisers

who do not engage” in activities prohibited by the Rule, but there also

“may be losses of efficiency,” “to the extent that investors currently ben-

efit from those activities” and now will “incur costs of searching for …

alternative investments”).

     Talking around an issue ad nauseum is not a substitute for predict-

ing a rule’s consequences “as best” as the agency “can.” Chamber of Com.,

412 F.3d at 143.

     The Commission doubles down on its erroneous refusal to consider

the “cumulative effect” of related rulemakings. All. for Hippocratic Med.

v. FDA, 78 F.4th 210, 246 (5th Cir. 2023), cert. granted, 2023 WL 8605746

(U.S. Dec. 13, 2023). With no authority besides its own say-so, the Com-

mission asserts that “pending” proposals need never be considered be-

cause they “may never become law.” SEC.Br.50-51. But when pending

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rules address the same issues, AR.368:8-23; SIFMA-Br.29-30; e.g., Form

PF, 87 Fed. Reg. 53,832, 53,876/1 (Sept. 1, 2022) (purporting to address

“conflicts of interest” in private-fund structures), they are obvious poten-

tial alternatives, and must be considered in relation to each other. The

statute demands complete analysis—not rote reliance on paper distinc-

tions about rules’ procedural status.

VI.   Vacatur Is Appropriate.

      The Commission does not dispute that the APA’s “default” remedy

is vacatur. Petrs.-Br.73-74. Nor does the Commission contend that this

is one of the “rare cases” in which departure “from that default rule is

justifiable,” Chamber of Com. v. SEC, 88 F.4th at 1115, 1118 (5th Cir.

2023); the Commission has thus “forfeited [that] argument,” Data Mktg.

P’ship, LP v. U.S. Dep’t of Lab., 45 F.4th 846, 860 (5th Cir. 2022).

      Instead, the Commission argues (at 55-56) that the Court should

vacate only portions of the Rule. But Petitioners sought review of the

entire “order” promulgating the Rule. Pet. 1. The Commission, moreo-

ver, overlooks multiple overarching errors Petitioners raised: The entire

Rule exceeds the Commission’s statutory authority. Petrs.-Br.25-38. The




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entire Rule lacks evidence of a real problem. Petrs.-Br.42-47. And the

entire Rule suffers from a deficient economic analysis. Petrs.-Br.66-72.

                            CONCLUSION

     The Rule should be vacated in whole.


Dated: January 22, 2024                 Respectfully Submitted,

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                       CERTIFICATE OF SERVICE

     I hereby certify that on January 22, 2024, I caused the foregoing

brief to be electronically filed with the United States Court of Appeals for

the Fifth Circuit by using the Court’s CM/ECF system.


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     I certify that this brief complies with the type-volume limitation of

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                              No. 23-60471


       United States Court of Appeals
            for the Fifth Circuit
                      —————————————————————

   NATIONAL ASSOCIATION OF PRIVATE FUND MANAGERS; ALTERNATIVE
     INVESTMENT MANAGEMENT ASSOCIATION, LIMITED; AMERICAN
 INVESTMENT COUNCIL; LOAN SYNDICATIONS AND TRADING ASSOCIATION;
    MANAGED FUNDS ASSOCIATION; and NATIONAL VENTURE CAPITAL
                           ASSOCIATION,

                                             Petitioners,

                                       v.
               SECURITIES AND EXCHANGE COMMISSION,
                                             Respondent.
                      —————————————————————

               On Petition for Review of an Order of the
                 Securities & Exchange Commission

          STATUTORY ADDENDUM & APPENDIX TO
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                            TAB 1
Section 913, Dodd-Frank Wall Street Reform and Consumer
 Protection Act, Pub. L. No. 111-203, 124 Stat. 1376 (2010),
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                                                                  124 STAT. 1824                           PUBLIC LAW 111–203—JULY 21, 2010

                                                                                                          ‘‘(B) disclosing the action, if any, the Commission
                                                                                                     intends to take with respect to the finding or recommenda-
                                                                                                     tion.
                                                                                               ‘‘(h) COMMITTEE FINDINGS.—Nothing in this section shall
                                                                                          require the Commission to agree to or act upon any finding or
                                                                                          recommendation of the Committee.
                                                                                               ‘‘(i) FEDERAL ADVISORY COMMITTEE ACT.—The Federal Advisory
                                                                                          Committee Act (5 U.S.C. App.) shall not apply with respect to
                                                                                          the Committee and its activities.
                                                                                               ‘‘(j) AUTHORIZATION OF APPROPRIATIONS.—There is authorized
                                                                                          to be appropriated to the Commission such sums as are necessary
                                                                                          to carry out this section.’’.
                                                                                          SEC. 912. CLARIFICATION OF AUTHORITY OF THE COMMISSION TO
                                                                                                     ENGAGE IN INVESTOR TESTING.
                                                                                               Section 19 of the Securities Act of 1933 (15 U.S.C. 77s) is
                                                                                          amended by adding at the end the following:
                                                                                               ‘‘(e) EVALUATION OF RULES OR PROGRAMS.—For the purpose
                                                                                          of evaluating any rule or program of the Commission issued or
                                                                                          carried out under any provision of the securities laws, as defined
                                                                                          in section 3 of the Securities Exchange Act of 1934 (15 U.S.C.
                                                                                          78c), and the purposes of considering, proposing, adopting, or
                                                                                          engaging in any such rule or program or developing new rules
                                                                                          or programs, the Commission may—
                                                                                                     ‘‘(1) gather information from and communicate with inves-
                                                                                               tors or other members of the public;
                                                                                                     ‘‘(2) engage in such temporary investor testing programs
                                                                                               as the Commission determines are in the public interest or
                                                                                               would protect investors; and
                                                                                                     ‘‘(3) consult with academics and consultants, as necessary
                                                                                               to carry out this subsection.
                                                                                               ‘‘(f) RULE OF CONSTRUCTION.—For purposes of the Paperwork
                                                                                          Reduction Act (44 U.S.C. 3501 et seq.), any action taken under
                                                                                          subsection (e) shall not be construed to be a collection of informa-
                                                                                          tion.’’.
                                                                                          SEC. 913. STUDY AND RULEMAKING REGARDING OBLIGATIONS OF
                                                                                                     BROKERS, DEALERS, AND INVESTMENT ADVISERS.
                                                                  15 USC 78o note.            (a) DEFINITION.—For purposes of this section, the term ‘‘retail
                                                                                          customer’’ means a natural person, or the legal representative of
                                                                                          such natural person, who—
                                                                                                  (1) receives personalized investment advice about securities
                                                                                              from a broker or dealer or investment adviser; and
                                                                                                  (2) uses such advice primarily for personal, family, or
                                                                                              household purposes.
                                                                  15 USC 78o note.            (b) STUDY.—The Commission shall conduct a study to
                                                                                          evaluate—
                                                                                                  (1) the effectiveness of existing legal or regulatory stand-
                                                                                              ards of care for brokers, dealers, investment advisers, persons
                                                                                              associated with brokers or dealers, and persons associated with
                                                                                              investment advisers for providing personalized investment
                                                                                              advice and recommendations about securities to retail cus-
                                                                                              tomers imposed by the Commission and a national securities
                                                                                              association, and other Federal and State legal or regulatory
                                                                                              standards; and
                                                                                                  (2) whether there are legal or regulatory gaps, short-
                                                                                              comings, or overlaps in legal or regulatory standards in the
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                                                                                              protection of retail customers relating to the standards of care




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                                                                                    PUBLIC LAW 111–203—JULY 21, 2010                                        124 STAT. 1825

                                                                      for brokers, dealers, investment advisers, persons associated
                                                                      with brokers or dealers, and persons associated with investment
                                                                      advisers for providing personalized investment advice about
                                                                      securities to retail customers that should be addressed by rule
                                                                      or statute.
                                                                      (c) CONSIDERATIONS.—In conducting the study required under                                  15 USC 78o note.
                                                                  subsection (b), the Commission shall consider—
                                                                           (1) the effectiveness of existing legal or regulatory stand-
                                                                      ards of care for brokers, dealers, investment advisers, persons
                                                                      associated with brokers or dealers, and persons associated with
                                                                      investment advisers for providing personalized investment
                                                                      advice and recommendations about securities to retail cus-
                                                                      tomers imposed by the Commission and a national securities
                                                                      association, and other Federal and State legal or regulatory
                                                                      standards;
                                                                           (2) whether there are legal or regulatory gaps, short-
                                                                      comings, or overlaps in legal or regulatory standards in the
                                                                      protection of retail customers relating to the standards of care
                                                                      for brokers, dealers, investment advisers, persons associated
                                                                      with brokers or dealers, and persons associated with investment
                                                                      advisers for providing personalized investment advice about
                                                                      securities to retail customers that should be addressed by rule
                                                                      or statute;
                                                                           (3) whether retail customers understand that there are
                                                                      different standards of care applicable to brokers, dealers, invest-
                                                                      ment advisers, persons associated with brokers or dealers, and
                                                                      persons associated with investment advisers in the provision
                                                                      of personalized investment advice about securities to retail
                                                                      customers;
                                                                           (4) whether the existence of different standards of care
                                                                      applicable to brokers, dealers, investment advisers, persons
                                                                      associated with brokers or dealers, and persons associated with
                                                                      investment advisers is a source of confusion for retail customers
                                                                      regarding the quality of personalized investment advice that
                                                                      retail customers receive;
                                                                           (5) the regulatory, examination, and enforcement resources
                                                                      devoted to, and activities of, the Commission, the States, and
                                                                      a national securities association to enforce the standards of
                                                                      care for brokers, dealers, investment advisers, persons associ-
                                                                      ated with brokers or dealers, and persons associated with
                                                                      investment advisers when providing personalized investment
                                                                      advice and recommendations about securities to retail cus-
                                                                      tomers, including—
                                                                                (A) the effectiveness of the examinations of brokers,
                                                                           dealers, and investment advisers in determining compli-
                                                                           ance with regulations;
                                                                                (B) the frequency of the examinations; and
                                                                                (C) the length of time of the examinations;
                                                                           (6) the substantive differences in the regulation of brokers,
                                                                      dealers, and investment advisers, when providing personalized
                                                                      investment advice and recommendations about securities to
                                                                      retail customers;
                                                                           (7) the specific instances related to the provision of
                                                                      personalized investment advice about securities in which—
                                                                                (A) the regulation and oversight of investment advisers
                                                                           provide greater protection to retail customers than the
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                                                                           regulation and oversight of brokers and dealers; and




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                                                                  124 STAT. 1826                           PUBLIC LAW 111–203—JULY 21, 2010

                                                                                                           (B) the regulation and oversight of brokers and dealers
                                                                                                      provide greater protection to retail customers than the
                                                                                                      regulation and oversight of investment advisers;
                                                                                                      (8) the existing legal or regulatory standards of State secu-
                                                                                                 rities regulators and other regulators intended to protect retail
                                                                                                 customers;
                                                                                                      (9) the potential impact on retail customers, including the
                                                                                                 potential impact on access of retail customers to the range
                                                                                                 of products and services offered by brokers and dealers, of
                                                                                                 imposing upon brokers, dealers, and persons associated with
                                                                                                 brokers or dealers—
                                                                                                           (A) the standard of care applied under the Investment
                                                                                                      Advisers Act of 1940 (15 U.S.C. 80b–1 et seq.) for providing
                                                                                                      personalized investment advice about securities to retail
                                                                                                      customers of investment advisers, as interpreted by the
                                                                                                      Commission and the courts; and
                                                                                                           (B) other requirements of the Investment Advisers Act
                                                                                                      of 1940 (15 U.S.C. 80b–1 et seq.);
                                                                                                      (10) the potential impact of eliminating the broker and
                                                                                                 dealer exclusion from the definition of ‘‘investment adviser’’
                                                                                                 under section 202(a)(11)(C) of the Investment Advisers Act
                                                                                                 of 1940 (15 U.S.C. 80b–2(a)(11)(C)), in terms of—
                                                                                                           (A) the impact and potential benefits and harm to
                                                                                                      retail customers that could result from such a change,
                                                                                                      including any potential impact on access to personalized
                                                                                                      investment advice and recommendations about securities
                                                                                                      to retail customers or the availability of such advice and
                                                                                                      recommendations;
                                                                                                           (B) the number of additional entities and individuals
                                                                                                      that would be required to register under, or become subject
                                                                                                      to, the Investment Advisers Act of 1940 (15 U.S.C. 80b–
                                                                                                      1 et seq.), and the additional requirements to which bro-
                                                                                                      kers, dealers, and persons associated with brokers and
                                                                                                      dealers would become subject, including—
                                                                                                                (i) any potential additional associated person
                                                                                                           licensing, registration, and examination requirements;
                                                                                                           and
                                                                                                                (ii) the additional costs, if any, to the additional
                                                                                                           entities and individuals; and
                                                                                                           (C) the impact on Commission and State resources
                                                                                                      to—
                                                                                                                (i) conduct examinations of registered investment
                                                                                                           advisers and the representatives of registered invest-
                                                                                                           ment advisers, including the impact on the examina-
                                                                                                           tion cycle; and
                                                                                                                (ii) enforce the standard of care and other
                                                                                                           applicable requirements imposed under the Investment
                                                                                                           Advisers Act of 1940 (15 U.S.C. 80b–1 et seq.);
                                                                                                      (11) the varying level of services provided by brokers,
                                                                                                 dealers, investment advisers, persons associated with brokers
                                                                                                 or dealers, and persons associated with investment advisers
                                                                                                 to retail customers and the varying scope and terms of retail
                                                                                                 customer relationships of brokers, dealers, investment advisers,
                                                                                                 persons associated with brokers or dealers, and persons associ-
                                                                                                 ated with investment advisers with such retail customers;
                                                                                                      (12) the potential impact upon retail customers that could
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                                                                                                 result from potential changes in the regulatory requirements




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                                                                      or legal standards of care affecting brokers, dealers, investment
                                                                      advisers, persons associated with brokers or dealers, and per-
                                                                      sons associated with investment advisers relating to their
                                                                      obligations to retail customers regarding the provision of invest-
                                                                      ment advice, including any potential impact on—
                                                                                (A) protection from fraud;
                                                                                (B) access to personalized investment advice, and rec-
                                                                           ommendations about securities to retail customers; or
                                                                                (C) the availability of such advice and recommenda-
                                                                           tions;
                                                                           (13) the potential additional costs and expenses to—
                                                                                (A) retail customers regarding and the potential impact
                                                                           on the profitability of their investment decisions; and
                                                                                (B) brokers, dealers, and investment advisers resulting
                                                                           from potential changes in the regulatory requirements or
                                                                           legal standards affecting brokers, dealers, investment
                                                                           advisers, persons associated with brokers or dealers, and
                                                                           persons associated with investment advisers relating to
                                                                           their obligations, including duty of care, to retail customers;
                                                                           and
                                                                           (14) any other consideration that the Commission considers
                                                                      necessary and appropriate in determining whether to conduct
                                                                      a rulemaking under subsection (f).
                                                                      (d) REPORT.—                                                                                15 USC 78o note.
                                                                           (1) IN GENERAL.—Not later than 6 months after the date
                                                                      of enactment of this Act, the Commission shall submit a report
                                                                      on the study required under subsection (b) to—
                                                                                (A) the Committee on Banking, Housing, and Urban
                                                                           Affairs of the Senate; and
                                                                                (B) the Committee on Financial Services of the House
                                                                           of Representatives.
                                                                           (2) CONTENT REQUIREMENTS.—The report required under
                                                                      paragraph (1) shall describe the findings, conclusions, and rec-
                                                                      ommendations of the Commission from the study required
                                                                      under subsection (b), including—
                                                                                (A) a description of the considerations, analysis, and
                                                                           public and industry input that the Commission considered,
                                                                           as required under subsection (b), to make such findings,
                                                                           conclusions, and policy recommendations; and
                                                                                (B) an analysis of whether any identified legal or regu-
                                                                           latory gaps, shortcomings, or overlap in legal or regulatory
                                                                           standards in the protection of retail customers relating
                                                                           to the standards of care for brokers, dealers, investment
                                                                           advisers, persons associated with brokers or dealers, and
                                                                           persons associated with investment advisers for providing
                                                                           personalized investment advice about securities to retail
                                                                           customers.
                                                                      (e) PUBLIC COMMENT.—The Commission shall seek and consider                                  15 USC 78o note.
                                                                  public input, comments, and data in order to prepare the report
                                                                  required under subsection (d).
                                                                      (f) RULEMAKING.—The Commission may commence a rule-                                         15 USC 78o note.
                                                                  making, as necessary or appropriate in the public interest and
                                                                  for the protection of retail customers (and such other customers
                                                                  as the Commission may by rule provide), to address the legal
                                                                  or regulatory standards of care for brokers, dealers, investment
                                                                  advisers, persons associated with brokers or dealers, and persons
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                                                                  associated with investment advisers for providing personalized




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                                                                                          investment advice about securities to such retail customers. The
                                                                                          Commission shall consider the findings conclusions, and rec-
                                                                                          ommendations of the study required under subsection (b).
                                                                                              (g) AUTHORITY TO ESTABLISH A FIDUCIARY DUTY FOR BROKERS
                                                                                          AND DEALERS.—
                                                                                                    (1) SECURITIES EXCHANGE ACT OF 1934.—Section 15 of the
                                                                                              Securities Exchange Act of 1934 (15 U.S.C. 78o) is amended
                                                                                              by adding at the end the following:
                                                                                              ‘‘(k) STANDARD OF CONDUCT.—
                                                                                                    ‘‘(1) IN GENERAL.—Notwithstanding any other provision of
                                                                                              this Act or the Investment Advisers Act of 1940, the Commis-
                                                                                              sion may promulgate rules to provide that, with respect to
                                                                                              a broker or dealer, when providing personalized investment
                                                                                              advice about securities to a retail customer (and such other
                                                                                              customers as the Commission may by rule provide), the
                                                                                              standard of conduct for such broker or dealer with respect
                                                                                              to such customer shall be the same as the standard of conduct
                                                                                              applicable to an investment adviser under section 211 of the
                                                                                              Investment Advisers Act of 1940. The receipt of compensation
                                                                                              based on commission or other standard compensation for the
                                                                                              sale of securities shall not, in and of itself, be considered
                                                                                              a violation of such standard applied to a broker or dealer.
                                                                                              Nothing in this section shall require a broker or dealer or
                                                                                              registered representative to have a continuing duty of care
                                                                                              or loyalty to the customer after providing personalized invest-
                                                                                              ment advice about securities.
                                                                                                    ‘‘(2) DISCLOSURE OF RANGE OF PRODUCTS OFFERED.—Where
                                                                                              a broker or dealer sells only proprietary or other limited range
                                                                                              of products, as determined by the Commission, the Commission
                                                                                              may by rule require that such broker or dealer provide notice
                                                                                              to each retail customer and obtain the consent or acknowledg-
                                                                                              ment of the customer. The sale of only proprietary or other
                                                                                              limited range of products by a broker or dealer shall not,
                                                                                              in and of itself, be considered a violation of the standard set
                                                                                              forth in paragraph (1).
                                                                                              ‘‘(l) OTHER MATTERS.—The Commission shall—
                                                                                                    ‘‘(1) facilitate the provision of simple and clear disclosures
                                                                                              to investors regarding the terms of their relationships with
                                                                                              brokers, dealers, and investment advisers, including any mate-
                                                                                              rial conflicts of interest; and
                                                                                                    ‘‘(2) examine and, where appropriate, promulgate rules
                                                                                              prohibiting or restricting certain sales practices, conflicts of
                                                                                              interest, and compensation schemes for brokers, dealers, and
                                                                                              investment advisers that the Commission deems contrary to
                                                                                              the public interest and the protection of investors.’’.
                                                                                                    (2) INVESTMENT ADVISERS ACT OF 1940.—Section 211 of the
                                                                  15 USC 80b–11.              Investment Advisers Act of 1940, is further amended by adding
                                                                                              at the end the following new subsections:
                                                                                              ‘‘(g) STANDARD OF CONDUCT.—
                                                                                                    ‘‘(1) IN GENERAL.—The Commission may promulgate rules
                                                                                              to provide that the standard of conduct for all brokers, dealers,
                                                                                              and investment advisers, when providing personalized invest-
                                                                                              ment advice about securities to retail customers (and such
                                                                                              other customers as the Commission may by rule provide), shall
                                                                                              be to act in the best interest of the customer without regard
                                                                                              to the financial or other interest of the broker, dealer, or invest-
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                                                                                              ment adviser providing the advice. In accordance with such




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                                                                                    PUBLIC LAW 111–203—JULY 21, 2010                                        124 STAT. 1829

                                                                      rules, any material conflicts of interest shall be disclosed and
                                                                      may be consented to by the customer. Such rules shall provide
                                                                      that such standard of conduct shall be no less stringent than
                                                                      the standard applicable to investment advisers under section
                                                                      206(1) and (2) of this Act when providing personalized invest-
                                                                      ment advice about securities, except the Commission shall not
                                                                      ascribe a meaning to the term ‘customer’ that would include
                                                                      an investor in a private fund managed by an investment
                                                                      adviser, where such private fund has entered into an advisory
                                                                      contract with such adviser. The receipt of compensation based
                                                                      on commission or fees shall not, in and of itself, be considered
                                                                      a violation of such standard applied to a broker, dealer, or
                                                                      investment adviser.
                                                                            ‘‘(2) RETAIL CUSTOMER DEFINED.—For purposes of this sub-
                                                                      section, the term ‘retail customer’ means a natural person,
                                                                      or the legal representative of such natural person, who—
                                                                                  ‘‘(A) receives personalized investment advice about
                                                                            securities from a broker, dealer, or investment adviser;
                                                                            and
                                                                                  ‘‘(B) uses such advice primarily for personal, family,
                                                                            or household purposes.
                                                                      ‘‘(h) OTHER MATTERS.—The Commission shall—
                                                                            ‘‘(1) facilitate the provision of simple and clear disclosures
                                                                      to investors regarding the terms of their relationships with
                                                                      brokers, dealers, and investment advisers, including any mate-
                                                                      rial conflicts of interest; and
                                                                            ‘‘(2) examine and, where appropriate, promulgate rules
                                                                      prohibiting or restricting certain sales practices, conflicts of
                                                                      interest, and compensation schemes for brokers, dealers, and
                                                                      investment advisers that the Commission deems contrary to
                                                                      the public interest and the protection of investors.’’.
                                                                      (h) HARMONIZATION OF ENFORCEMENT.—
                                                                            (1) SECURITIES EXCHANGE ACT OF 1934.—Section 15 of the
                                                                      Securities Exchange Act of 1934, as amended by subsection                                   15 USC 78o.
                                                                      (g)(1), is further amended by adding at the end the following
                                                                      new subsection:
                                                                      ‘‘(m) HARMONIZATION OF ENFORCEMENT.—The enforcement
                                                                  authority of the Commission with respect to violations of the
                                                                  standard of conduct applicable to a broker or dealer providing
                                                                  personalized investment advice about securities to a retail customer
                                                                  shall include—
                                                                            ‘‘(1) the enforcement authority of the Commission with
                                                                      respect to such violations provided under this Act; and
                                                                            ‘‘(2) the enforcement authority of the Commission with
                                                                      respect to violations of the standard of conduct applicable to
                                                                      an investment adviser under the Investment Advisers Act of
                                                                      1940, including the authority to impose sanctions for such
                                                                      violations, and
                                                                  the Commission shall seek to prosecute and sanction violators of
                                                                  the standard of conduct applicable to a broker or dealer providing
                                                                  personalized investment advice about securities to a retail customer
                                                                  under this Act to same extent as the Commission prosecutes and
                                                                  sanctions violators of the standard of conduct applicable to an
                                                                  investment advisor under the Investment Advisers Act of 1940.’’.
                                                                            (2) INVESTMENT ADVISERS ACT OF 1940.—Section 211 of the
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                                                                      Investment Advisers Act of 1940, as amended by subsection




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                                                                  124 STAT. 1830                           PUBLIC LAW 111–203—JULY 21, 2010

                                                                                               (g)(2), is further amended by adding at the end the following
                                                                                               new subsection:
                                                                                               ‘‘(i) HARMONIZATION OF ENFORCEMENT.—The enforcement
                                                                                          authority of the Commission with respect to violations of the
                                                                                          standard of conduct applicable to an investment adviser shall
                                                                                          include—
                                                                                                     ‘‘(1) the enforcement authority of the Commission with
                                                                                               respect to such violations provided under this Act; and
                                                                                                     ‘‘(2) the enforcement authority of the Commission with
                                                                                               respect to violations of the standard of conduct applicable to
                                                                                               a broker or dealer providing personalized investment advice
                                                                                               about securities to a retail customer under the Securities
                                                                                               Exchange Act of 1934, including the authority to impose sanc-
                                                                                               tions for such violations, and
                                                                                          the Commission shall seek to prosecute and sanction violators of
                                                                                          the standard of conduct applicable to an investment adviser under
                                                                                          this Act to same extent as the Commission prosecutes and sanctions
                                                                                          violators of the standard of conduct applicable to a broker or dealer
                                                                                          providing personalized investment advice about securities to a retail
                                                                                          customer under the Securities Exchange Act of 1934.’’.
                                                                  15 USC 80b–11           SEC. 914. STUDY ON ENHANCING INVESTMENT ADVISER EXAMINA-
                                                                  note.                              TIONS.
                                                                                               (a) STUDY REQUIRED.—
                                                                  Review.                           (1) IN GENERAL.—The Commission shall review and analyze
                                                                                               the need for enhanced examination and enforcement resources
                                                                                               for investment advisers.
                                                                                                    (2) AREAS OF CONSIDERATION.—The study required by this
                                                                                               subsection shall examine—
                                                                  Time period.                           (A) the number and frequency of examinations of
                                                                                                    investment advisers by the Commission over the 5 years
                                                                                                    preceding the date of the enactment of this subtitle;
                                                                                                         (B) the extent to which having Congress authorize
                                                                                                    the Commission to designate one or more self-regulatory
                                                                                                    organizations to augment the Commission’s efforts in over-
                                                                                                    seeing investment advisers would improve the frequency
                                                                                                    of examinations of investment advisers; and
                                                                                                         (C) current and potential approaches to examining the
                                                                                                    investment advisory activities of dually registered broker-
                                                                                                    dealers and investment advisers or affiliated broker-dealers
                                                                                                    and investment advisers.
                                                                                               (b) REPORT REQUIRED.—The Commission shall report its
                                                                                          findings to the Committee on Financial Services of the House of
                                                                                          Representatives and the Committee on Banking, Housing, and
                                                                                          Urban Affairs of the Senate, not later than 180 days after the
                                                                                          date of enactment of this subtitle, and shall use such findings
                                                                                          to revise its rules and regulations, as necessary. The report shall
                                                                                          include a discussion of regulatory or legislative steps that are
                                                                                          recommended or that may be necessary to address concerns identi-
                                                                                          fied in the study.
                                                                                          SEC. 915. OFFICE OF THE INVESTOR ADVOCATE.
                                                                                              Section 4 of the Securities Exchange Act of 1934 (15 U.S.C.
                                                                                          78d) is amended by adding at the end the following:
                                                                                              ‘‘(g) OFFICE OF THE INVESTOR ADVOCATE.—
                                                                                                    ‘‘(1) OFFICE ESTABLISHED.—There is established within the
                                                                                              Commission the Office of the Investor Advocate (in this sub-
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                                                                                              section referred to as the ‘Office’).




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                          TAB 2
                      15 U.S.C. § 80b-6,
                 codifying Advisers Act § 206
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§ 80b–6                                 TITLE 15—COMMERCE AND TRADE                                                 Page 608

empt from registration pursuant to section 80b–3(b) of                              Executive Documents
this title,’’ and struck out ‘‘make use of the mails or
any means or instrumentality of interstate commerce,                               TRANSFER OF FUNCTIONS
directly or indirectly, to’’ after ‘‘shall’’ and ‘‘to’’ after       For transfer of functions of Securities and Exchange
‘‘in any way’’.                                                   Commission, with certain exceptions, to Chairman of
   Subsec. (e). Pub. L. 111–203, § 418, inserted at end           such Commission, see Reorg. Plan No. 10 of 1950, §§ 1, 2,
‘‘With respect to any factor used in any rule or regula-          eff. May 24, 1950, 15 F.R. 3175, 64 Stat. 1265, set out under
tion by the Commission in making a determination                  section 78d of this title.
under this subsection, if the Commission uses a dollar
amount test in connection with such factor, such as a             § 80b–6. Prohibited transactions by investment
net asset threshold, the Commission shall, by order,                  advisers
not later than 1 year after July 21, 2010, and every 5
years thereafter, adjust for the effects of inflation on            It shall be unlawful for any investment ad-
such test. Any such adjustment that is not a multiple             viser by use of the mails or any means or instru-
of $100,000 shall be rounded to the nearest multiple of           mentality of interstate commerce, directly or
$100,000.’’
                                                                  indirectly—
   Subsec. (f). Pub. L. 111–203, § 921(b), added subsec. (f).
   1996—Subsec. (b)(4), (5). Pub. L. 104–290, § 210(1), added         (1) to employ any device, scheme, or artifice
pars. (4) and (5).                                                  to defraud any client or prospective client;
   Subsec. (e). Pub. L. 104–290, § 210(2), added subsec. (e).         (2) to engage in any transaction, practice, or
   1987—Pub. L. 100–181 completely revised and expanded             course of business which operates as a fraud or
provisions on investment advisory contracts, changing               deceit upon any client or prospective client;
structure of section from a single unlettered paragraph               (3) acting as principal for his own account,
to one consisting of four subsections lettered (a) to (d).          knowingly to sell any security to or purchase
   1980—Pub. L. 96–477 provided that par. (1) of this sec-
                                                                    any security from a client, or acting as broker
tion was not to apply with respect to any investment
advisory contract between an investment adviser and a               for a person other than such client, knowingly
business development company so long as the com-                    to effect any sale or purchase of any security
pensation provided for in such contract did not exceed              for the account of such client, without dis-
20 per cent of the realized capital gains upon the funds            closing to such client in writing before the
of the business development company and such busi-                  completion of such transaction the capacity in
ness development company did not have outstanding                   which he is acting and obtaining the consent
any option, warrant, or right issued pursuant to section            of the client to such transaction. The prohibi-
80a–60(a)(3)(B) of this title and did not have a profit-
                                                                    tions of this paragraph shall not apply to any
sharing plan.
   1970—Pub. L. 91–547 substituted reference to section             transaction with a customer of a broker or
‘‘80b–3(b)’’ for ‘‘80b–3’’ of this title in first sentence, re-     dealer if such broker or dealer is not acting as
designated as second sentence former third sentence,                an investment adviser in relation to such
designating existing provisions as cl. (A) and adding cl.           transaction; or
(B) and items (i) and (ii) and provision respecting com-              (4) to engage in any act, practice, or course
pensation based on asset value of company or fund                   of business which is fraudulent, deceptive, or
under management averaged over a specified period in                manipulative. The Commission shall, for the
relation to investment record of an index of securities
                                                                    purposes of this paragraph (4) by rules and reg-
or such other measure of investment performance spec-
ified by Commission rules, regulations, or orders, in-              ulations define, and prescribe means reason-
serted third sentence provision respecting point from               ably designed to prevent, such acts, practices,
which compensation is to be measured, substituted in                and courses of business as are fraudulent, de-
fourth, formerly third, sentence ‘‘paragraphs (2) and (3)           ceptive, or manipulative.
of this section’’ for ‘‘this section’’ and in definition of
‘‘investment advisory contract’’ the words ‘‘account of           (Aug. 22, 1940, ch. 686, title II, § 206, 54 Stat. 852;
another person other than an investment company reg-              Pub. L. 86–750, §§ 8, 9, Sept. 13, 1960, 74 Stat. 887;
istered under subchapter I of this chapter’’ for ‘‘ac-            Pub. L. 111–203, title IX, § 985(e)(2), July 21, 2010,
count for a person other than an investment company’’.            124 Stat. 1935.)
   1960—Pub. L. 86–750 substituted ‘‘unless exempt from
registration pursuant to’’ for ‘‘registered under’’.                                    Editorial Notes

                                                                                         AMENDMENTS
       Statutory Notes and Related Subsidiaries
                                                                    2010—Par. (3). Pub. L. 111–203 inserted ‘‘or’’ at end.
          EFFECTIVE DATE OF 2010 AMENDMENT                          1960—Pub. L. 86–750, § 8, struck out ‘‘registered under
  Amendment by sections 921(b) and 928 of Pub. L.                 section 80b–3 of this title’’ from introductory text.
111–203 effective 1 day after July 21, 2010, except as oth-         Par. (4). Pub. L. 86–750, § 9, added par. (4).
erwise provided, see section 4 of Pub. L. 111–203, set out
as an Effective Date note under section 5301 of Title 12,                Statutory Notes and Related Subsidiaries
Banks and Banking.
  Amendment by section 418 of Pub. L. 111–203 effective                     EFFECTIVE DATE OF 2010 AMENDMENT
1 year after July 21, 2010, except that any investment              Amendment by Pub. L. 111–203 effective 1 day after
adviser may, at the discretion of the investment ad-              July 21, 2010, except as otherwise provided, see section
viser, register with the Commission under the Invest-             4 of Pub. L. 111–203, set out as an Effective Date note
ment Advisers Act of 1940 during that 1-year period,              under section 5301 of Title 12, Banks and Banking.
subject to the rules of the Commission, and except as
otherwise provided, see section 419 of Pub. L. 111–203,           § 80b–6a. Exemptions
set out as a note under section 80b–2 of this title.
                                                                    The Commission, by rules and regulations,
          EFFECTIVE DATE OF 1970 AMENDMENT                        upon its own motion, or by order upon applica-
  Amendment by Pub. L. 91–547 effective on expiration             tion, may conditionally or unconditionally ex-
of one year after Dec. 14, 1970, see section 30(1) of Pub.        empt any person or transaction, or any class or
L. 91–547, set out as a note under section 80a–52 of this         classes of persons, or transactions, from any
title.                                                            provision or provisions of this subchapter or of




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                         TAB 3
             Declaration of Simon Lorne,
on behalf of the National Association of Private Fund
                      Managers
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              UNITED STATES COURT OF APPEALS
                   FOR THE FIFTH CIRCUIT


NATIONAL ASSOCIATION OF PRIVATE FUND
MANAGERS;    ALTERNATIVE     INVESTMENT
MANAGEMENT      ASSOCIATION,    LIMITED;
AMERICAN INVESTMENT COUNCIL; LOAN
SYNDICATIONS AND TRADING ASSOCIATION;
MANAGED FUNDS ASSOCIATION; and NATIONAL
VENTURE CAPITAL ASSOCIATION,

                            Petitioners,

                            v.                           No. 23-60471

SECURITIES AND EXCHANGE COMMISSION,

                            Respondent.


                 DECLARATION OF SIMON LORNE

     1.    My name is Simon Lorne, and I am President of the National

Association of Private Fund Managers (NAPFM). NAPFM is one of the

Petitioners in this case, and I am submitting this declaration in support

of Petitioners’ standing in this case.

     2.    NAPFM is a non-profit organization whose membership is

composed entirely of investment advisers in the private fund manage-

ment industry. NAPFM is a Texas non-profit corporation that is head-

quartered in Fort Worth, Texas. NAPFM was founded for, among other




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things, providing education to its members and representing their legal

and economic interests before the government and in the courts. As part

of this mission, NAPFM has submitted comments on behalf of its mem-

bers in rulemakings—including in the administrative proceedings below.

NAPFM represents investment advisers with total net assets under man-

agement of over $600 billion as of July 2023.

     3.    In addition to serving as President of NAPFM, I also serve as

Vice Chairman & Chief Legal Officer of Millennium Management, LLC.

Millennium Management is a global investment management firm and

registered investment adviser with the SEC (CRD # 158117 / SEC # 801-

73884). As has been publicly reported, Millennium Management is a

member of NAPFM. Millennium Management has continuously been a

member of NAPFM since before the Commission adopted the Private

Fund Advisers Rule at issue here.

     4.    As an investment adviser to private funds, Millennium Man-

agement is directly regulated and harmed by the Private Fund Advisers

Rule. Among other things, the Rule:




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x restricts Millennium Management’s ability to enter into the type
  of side arrangements it currently enters into, 17 C.F.R.
  § 275.211(h)(2)-3(a)(1)-(2);

x prohibits Millennium Management from charging private funds
  for the type of regulatory, compliance, examination, and investi-
  gation fees or expenses it currently charges, barring Commis-
  sion-mandated disclosure, and in some cases consent, which is
  impractical to obtain under the circumstances, id. 275.211(h)(2)-
  1(a)(1)-(2);

x prohibits Millennium Management from reducing a contractual
  obligation to return performance-based compensation based on
  taxes applicable to Millennium Management barring Commis-
  sion-mandated disclosure, id. § 275.211(h)(2)-1(a)(3);

x prohibits Millennium Management from charging certain of the
  fees it currently charges related to a portfolio investment on a
  non-pro rata basis barring a vaguely defined “fair and equitable”
  allocation    and    Commission-mandated         disclosure,  id.
  § 275.211(h)(2)-1(a)(4);

x prohibits Millennium Management from borrowing money or
  taking a loan from a fund it advises, barring Commission-man-
  dated disclosure and consent, id. § 275.211(h)(2)-1(a)(5);

x requires Millennium Management to provide investors with
  quarterly statements containing detailed information regarding
  fees, expenses, and performance for the private funds its advises,
  id. § 275.211(h)(1)-2, in a manner that Millennium Management
  does not currently do;

x interprets the Advisers Act to bar Millennium Management from
  continuing to seek reimbursement, indemnification, exculpation,




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                         TAB 4
              Declaration of Isaac Haas,
on behalf of the National Association of Private Fund
                      Managers
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              UNITED STATES COURT OF APPEALS
                   FOR THE FIFTH CIRCUIT


NATIONAL ASSOCIATION OF PRIVATE FUND
MANAGERS;    ALTERNATIVE     INVESTMENT
MANAGEMENT      ASSOCIATION,    LIMITED;
AMERICAN INVESTMENT COUNCIL; LOAN
SYNDICATIONS AND TRADING ASSOCIATION;
MANAGED FUNDS ASSOCIATION; and NATIONAL
VENTURE CAPITAL ASSOCIATION,

                            Petitioners,

                            v.                           No. 23-60471

SECURITIES AND EXCHANGE COMMISSION,

                            Respondent.


                  DECLARATION OF ISAAC HAAS

     1.    My name is Isaac Haas, and I am Secretary of the National

Association of Private Fund Managers (NAPFM). NAPFM is one of the

Petitioners in this case, and I am submitting this declaration in support

of Petitioners’ standing in this case.

     2.    NAPFM is a non-profit organization whose membership is

composed entirely of investment advisers in the private fund manage-

ment industry. NAPFM is a Texas non-profit corporation that is head-

quartered in Fort Worth, Texas. NAPFM was founded for, among other




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things, providing education to its members and representing their legal

and economic interests before the government and in the courts. As part

of this mission, NAPFM has submitted comments on behalf of its mem-

bers in rulemakings—including in the administrative proceedings below.

NAPFM represents investment advisers with total net assets under man-

agement of over $600 billion as of July 2023.

     3.    In addition to serving as Secretary of NAPFM, I also serve as

General Counsel of HBK Capital Management. HBK is a global invest-

ment management firm headquartered in Dallas, Texas and a registered

investment adviser with the SEC (CRD # 115079 / SEC # 801-70632). As

has been publicly reported, HBK is a member of NAPFM. HBK has con-

tinuously been a member of NAPFM since before the Commission

adopted the Private Fund Advisers Rule at issue here.

     4.    As an investment adviser to private funds, HBK is directly

regulated and harmed by the Private Fund Advisers Rule. Among other

things, the Rule:

     x restricts HBK’s ability to enter into the type of side arrange-
       ments it currently enters into, 17 C.F.R. § 275.211(h)(2)-3(a)(1)-
       (2);


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x prohibits HBK from charging private funds for the type of regu-
  latory, compliance, examination, and investigation fees or ex-
  penses it currently charges, barring Commission-mandated dis-
  closure, and in some cases consent, which is impractical to obtain
  under the circumstances, id. 275.211(h)(2)-1(a)(1)-(2);

x prohibits HBK from charging certain of the fees it currently
  charges related to a portfolio investment on a non-pro rata basis
  barring a vaguely defined “fair and equitable” allocation and
  Commission-mandated disclosure, id. § 275.211(h)(2)-1(a)(4);

x requires HBK to provide investors with quarterly statements
  containing detailed information regarding fees, expenses, and
  performance for the private funds its advises, id. § 275.211(h)(1)-
  2, in a manner that HBK does not currently do;

x interprets the Advisers Act to bar HBK from continuing to seek
  reimbursement, indemnification, exculpation, or limitation of li-
  ability from the private funds its advises, depending on the cir-
  cumstances, Final Rule, 88 Fed. Reg. 63,206, 63,277/1 & n.783
  (Sept. 14, 2023);

x obligates HBK to provide independent fairness or valuation
  opinions when offering investors the option to cash out or move
  their investments to different funds it advises, id.
  § 275.211(h)(2)-2, in a manner that HBK does not currently do;

x compels HBK to retain books and records related to the new
  Rule, id. § 275.204-2(a)(20)-(24).




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                         TAB 5
       Declaration of Rebekah Goshorn Jurata,
    on behalf of the American Investment Council
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              UNITED STATES COURT OF APPEALS
                   FOR THE FIFTH CIRCUIT


NATIONAL ASSOCIATION OF PRIVATE FUND
MANAGERS;    ALTERNATIVE     INVESTMENT
MANAGEMENT      ASSOCIATION,    LIMITED;
AMERICAN INVESTMENT COUNCIL; LOAN
SYNDICATIONS AND TRADING ASSOCIATION;
MANAGED FUNDS ASSOCIATION; and NATIONAL
VENTURE CAPITAL ASSOCIATION,

                           Petitioners,

                           v.                          No. 23-60471

SECURITIES AND EXCHANGE COMMISSION,

                           Respondent.


       DECLARATION OF REBEKAH GOSHORN JURATA

     1.    My name is Rebekah Goshorn Jurata, and I serve as General

Counsel for the American Investment Council (AIC). The AIC is an ad-

vocacy, communications, and research organization established to ad-

vance access to capital, job creation, retirement security, innovation, and

economic growth by promoting responsible long-term investment. AIC

Comment Letter at 1 (Apr. 25, 2022) (AR.145:1).

     2.    The AIC’s members are the world’s leading private equity and

private credit firms, united by their commitment to growing and




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strengthening the businesses in which they invest. AIC Comment Letter

at 1 (AR.145:1); see SEC Memorandum Regarding Videoconference with

Representatives of the American Investment Council (June 16, 2022)

(AR.400) (identifying AIC members). The AIC’s members represent ap-

proximately 80% of the assets under management in the global private-

equity industry.

     3.    The AIC’s members are directly regulated and harmed by the

Private Fund Advisers Rule. Each of the Rule’s provisions directly regu-

lates the AIC’s members in ways that impede the operation of their busi-

nesses, impose new costs on them, or require them to expend additional

employee time. Among other things, the Rule interprets the Advisers Act

to prohibit the AIC’s members from charging fees for supposedly “unper-

formed services” to the private funds they advise. Final Rule, 88 Fed.

Reg. 63,206, 63,274/3 (Sept. 14, 2023). In line with market practice,

many of the AIC’s members have assessed accelerated monitoring fees,

although a fund’s share of such fees is typically 100% offset by a corre-

sponding reduction in management fees. It appears that the Commission

intended to restrict this practice with its interpretation. AIC Comment


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                             TAB 6
SEC Opp’n to Amici Curiae’s Motion for Leave to File, SEC v.
LG Capital Funding, LLC, No. 1:22-cv-3353 (E.D.N.Y. July 19,
                    2023), ECF No. 43
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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK

 SECURITIES AND EXCHANGE COMMISSION,

                                          Plaintiff,

 v.

 LG CAPITAL FUNDING, LLC, and
 JOSEPH I. LERMAN,                                               Civil Action No.
                                                                 22-cv-3353-WFK-JRC
                                          Defendants,

 and

 DANIEL GELLMAN,
 BORUCH GREENBERG, and
 ELI SAFDIEH,

                                          Relief Defendants.


     PLAINTIFF’S OPPOSITION TO AMICI CURIAE’S MOTION FOR LEAVE TO FILE
            BRIEF IN SUPPORT OF DEFENDANTS’ MOTION TO DISMISS

           Plaintiff Securities and Exchange Commission (“SEC”) respectfully submits this

 Opposition to Amici Curiae’s Motion for Leave to File Brief in Support of Defendants’ Motion to

 Dismiss. (ECF No 39). Amici’s 1 motion should be denied for two reasons: (1) Amici do not offer

 any unique or relevant perspective on the issues in this case; and (2) the brief is untimely.

      I.      AMICI’S PROPOSED BRIEF WILL NOT ASSIST
              THE COURT AND DOES NOT OFFER A UNIQUE PERSPECTIVE.

           In determining whether to accept an amicus brief, district courts have noted that “[t]here is

 no governing standard, rule or statute prescribing the procedure for obtaining leave to file an



 1
   “Amici” collectively refers to Alternative Investment Management Association, Ltd. (“AIMA”),
 Trading and Markets Project, Inc. (“TMP”), and National Association of Private Fund Managers
 (“NAPFM”).



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 amicus brief in the district court, and so deciding whether to permit an individual to act as amicus

 curiae lies in the firm discretion of the district court.” King v. Amazon.com Servs., No. 22-cv-

 01479, 2022 WL 17083273, at *5, n. 6 (E.D.N.Y. Nov. 18, 2022) (citing SEC v. Ripple Labs, Inc.,

 No. 20-cv-10832, 2021 WL 4555352, at *5 (S.D.N.Y. Oct. 4, 2021)). That said, district courts

 look “to the Federal Rules of Appellate Procedure, which provides a rule for the filing of an amicus

 brief, and also considers the instances when an amicus brief serves a laudable, rather than

 distractive, purpose.” Lehman XS Trust, Series 2006-GP2 v. Greenpoint Mortg. Funding, Inc., No.

 12 Civ. 7935, 2014 WL 265784, at *1 (S.D.N.Y. Jan. 23, 2014).

        Federal Rule of Appellate Procedure 29 provides that amicus curiae “may file a brief only

 by leave of court or if the brief states that all parties have consented to its filing.” Fed. R. App. P.

 29(a)(2). “A court may grant leave to appear as an amicus if the information offered is ‘timely and

 useful.’” Lehman XS Trust, 2014 WL 265784, at *2 (emphasis added) (quoting Waste Mgmt. of

 Pa., Inc. v. City of York, 162 F.R.D. 34, 36 (M.D. Pa. 1995)). The circumstances under which an

 amicus brief is considered useful are limited:

        An amicus brief should normally be allowed when a party is not represented
        competently or is not represented at all, when the amicus has an interest in some
        other case that may be affected by the decision in the present case ..., or when the
        amicus has unique information or perspective that can help the court beyond the
        help that the lawyers for the parties are able to provide. Otherwise, leave to file an
        amicus curiae brief should be denied.

 Lehman XS Trust, 2014 WL 265784, at *2 (quoting Ryan v. CFTC, 125 F.3d 1062, 1063 (7th Cir.

 1997)). See also Best Payphones, Inc. v. Dobrin, 410 F. Supp.3d 457, 465 n.3 (E.D.N.Y. 2019)

 (quoting Citizens Against Casino Gambling in Erie Cnty. v. Kempthorne, 471 F. Supp. 2d 295,

 311 (W.D.N.Y. 2007)). Muchmore’s Cafe, LLC v. City of N.Y., No. 14-cv-5668, 2016 WL

 11469539, at *6 (E.D.N.Y. Sept. 29, 2016) (quoting same).




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        The LG Defendants are represented by competent counsel that can raise (and have raised)

 all relevant arguments to the Court, and Amici do not offer a unique perspective. Amici’s proposed

 brief primarily argues that the SEC’s litigation position in cases brought against convertible note

 businesses expands the statutory definition of “dealer,” as set forth in Section 3(a)(5) of the

 Securities Exchange Act of 1934. (ECF No. 39-2 at 2-3, 7-14). But the LG Defendants spent half

 of their opening brief making that precise argument. (ECF No. 27 at 12-25). Amici also argues

 that hedge funds would be affected by the Court’s decision here. (ECF No. 39-2 at 3-7). But this

 too was addressed by the LG Defendants. (ECF No. 27 at 12-13). Finally, like the LG Defendants,

 Amici invokes the major questions doctrine. (Compare ECF No. 39-2 at 15-19 (discussing W.Va.

 v. EPA, 142 S.Ct. 2587, 2609, 2614 (2022)) with ECF No. 27 at 24-25 (same))). The SEC

 responded to these arguments in its opposition to the LG Defendants’ moving brief. (ECF No. 28

 at 18-21 (statutory interpretation and historical meaning of words), 22-24 (hedge funds), 24 n.25

 (major questions doctrine)). There is nothing unique about Amici’s arguments here, and their

 proposed brief would not be helpful in addressing the issues raised in the LG Defendants’ motion

 to dismiss.

        Setting aside that Amici’s proposed brief merely reiterates arguments already competently

 raised by the LG Defendants, the Court should deny their motion because their presence in this

 case would unnecessarily complicate and expand the scope of the SEC’s action. The SEC sued

 one business (LG Capital) whose exclusive activity was purchasing convertible notes, converting

 them into newly-issued shares, and selling those new shares into the market—and alleges the

 business was a “dealer” under the plain language of the Exchange Act. (ECF No. 1 (Compl.) at

 ¶¶ 2-7; ECF No. 28 (SEC MTD Opp. Br.) at 6-12). Nothing about this case concerns the registered

 adviser or investment vehicles represented by Amici that may or may not be covered by the




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 Exchange Act and other regulatory regimes. 2 (ECF No. 39-2 at 5-7). Indeed, in its motion to

 dismiss, LG Capital made a point of distinguishing itself from registered investment advisers and

 argued it was not required to register under the Investment Company Act. (ECF. No. 27 at 1, 12-

 13). For this additional reason, the Court should deny Amici’s motion for leave. See Petersen

 Energía Inversora, S.A.U. v Argentine Republic, No. 15-cv-2739, 2022 WL 3536117, at *2

 (S.D.N.Y. Aug. 18, 2022) (citing Waste Mgmt. of Pa.,162 F.R.D. at 36 (“The named parties should

 always remain in control, with the amicus merely responding to the issues presented by the parties.

 An amicus cannot initiate, create, extend or enlarge issues . . . .”)).

           Here, the burden to the Court and the parties in accepting Amici’s proposed brief, without

 supplemental briefing by the SEC, outweighs any benefit the Court might derive from Amici’s

 offering.

     II.      THE MOTION FOR LEAVE IS UNTIMELY.

           Defendants’ motion to dismiss the Complaint was fully briefed nearly nine months ago on

 October 27, 2022. As explained below, Amici have been aware of this case and the parties’ briefing

 since at least at least December 2022. Amici’s motion for leave is therefore untimely, and the Court

 should deny it for that independent reason.

           The information offered by an amicus must be “timely and useful.” Lehman XS Trust, 2014

 WL 265784 at *2 (emphasis added) (quoting Waste Mgmt. of Pa., Inc., 162 F.R.D. at 36). Although




 2
  Amici’s positions will be heard because they have filed similar amicus briefs in other SEC actions
 against convertible note businesses. See Amicus Brief for AIMA, NAPFM, and TMP, SEC v.
 Morningview Fin., LLC, No. 1:22-cv-8142, Dkt. No. 33 (S.D.N.Y. filed July 6, 2023); Amicus
 Brief for NAPFM, SEC v. Keener, 22-14237, Dkt. No. 34 (11th Cir. filed June 7, 2023); Amicus
 Brief for AIMA, SEC v. Keener, 22-14237, Dkt. No. 36 (11th Cir. filed June 7, 2023); Amicus
 Brief for AIMA and NAPFM, SEC v. Almagarby, No. 21-13755, Dkt. No. 35 (11th Cir. filed July
 8, 2022). Unlike here, all these briefs were filed either within the time limits of the Appellate Rules
 and/or were unopposed by the parties.



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 not bound by the 7 day deadline of Fed. R. App. P. 29, district courts in this circuit have routinely

 denied leave to file an amicus curiae brief where, as here, amici seek to file papers in support of a

 party’s motion well after the motion has been fully briefed “because, as a general matter, the parties

 to the case or controversy before the Court should have the opportunity to engage with the

 arguments and perspectives of amici without resorting to supplemental briefing, which might

 unduly delay the proceedings, or unduly prejudice one or more of the parties.” Petersen Energía,

 2022 WL 3536117, at *1 (denying leave to file an amicus brief six weeks after the parties

 completed summary judgment briefing).

        Defendants’ motion to dismiss has been pending, and the briefs have been available on this

 Court’s public docket, since October 27, 2022. (ECF. No. 27, 28). Amici’s claim that they “only

 recently became aware of the status of this case” (ECF No. 39-1 at ¶ 5), is simply not true— they

 have known about it for at least seven months, since December 2022. In SEC v. Almagarby, No.

 21-13755 (11th Cir.), an SEC case with facts similar to the SEC’s allegations here, and in which

 the SEC prevailed in district court at the motion to dismiss and summary judgment stages, two of

 the proposed amici here—AIMA and NAPFM—filed an amicus brief on July 8, 2022 and moved

 to file a reply brief on December 2, 2022. See Amicus Brief for AIMA and NAPFM, SEC v.

 Almagarby, No. 21-13755, Dkt. No. 35 (11th Cir. filed July 8, 2022); AIMA and NAPFM Mot.

 for Leave to File Reply Brief of Amici Curiae, Almagarby, No. 21-13755, Dkt. No. 50 (11th Cir.

 filed Dec. 2, 2022). In their proposed reply, AIMA and NAPFM cited to the SEC’s Opposition to

 the LG Defendants’ Motion to Dismiss here. Id. at Dkt. No 50-2 at 12 (citing SEC v. LG Capital

 Funding, LLC, No. 22-cv-3353 (S.D.N.Y.), ECF No. 28).

        Amici’s claim that they only recently learned about this case is belied by their own briefing

 in the Almagarby appeal, and they offer no other explanation for the tardiness of their filing. For




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 this reason alone, this Court should deny Amici’s motion. See U.S. v. Yaroshenko, 86 F. Supp.

 289, 290 (S.D.N.Y. 2015) (denying as untimely amici’s motion for leave filed 10 months after

 defendant filed his motion, and well after briefing was complete on that motion, stating that “[t]his

 is reason alone to deny the application”); In re Calpine Corp., No. 08-cv-1286, 2008 WL 2462035,

 at *1 (S.D.N.Y. June 9, 2008) (denying amicus brief when leave was requested over two months

 from date when party’s principal brief was due); cf. Andersen v. Leavitt, No. 03-cv-6115, 2007

 WL 234672, at *6 (E.D.N.Y. Aug. 13, 2007) (excusing 5 month delay where the record

 demonstrated that the amicus acted promptly after learning of the action and there was no

 indication that it should have acted sooner).

     III.      CONCLUSION

            For these reasons, the Court should deny Amici’s Motion for Leave. If the Court grants

 Amici’s Motion, the SEC requests 21 days from the date the brief is docketed to file a response

 brief.

 Respectfully submitted,

  Dated: July 19, 2023                       SECURITIES AND EXCHANGE COMMISSION
         Washington, D.C.
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